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                     EXHIBIT G
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                    Summary of Changes to Solutions – Effective November 1, 2015

  The list below is a summary of the substantive changes to Solutions. Please review the entire
  Procedure to understand all changes, including those summarized below.

                Eliminated the Company’s ability to modify Solutions in the future;
                Added reference to Executive Order 13673 to the description of Excluded Claims;
                Updated list of covered businesses (e.g., delete NBC, Consumer & Industrial, rename
                 GE Energy) and modified definition of “Company”;
                Improved the selection process for mediators and arbitrators to make it more likely
                 that the employee and the company will make the selection rather than the Dispute
                 Resolution Organization (“DRO”) that administers these processes;
                Modified so that only a court may determine the validity of the waiver of class,
                 collective or representative actions;
                Clarified that employees can discuss the substance of their covered claims with
                 colleagues;
                Clarified that both the company and the employees can file dispositive motions
                 during the arbitration process;
                Added additional time for certain steps of the process, as needed.

                       Summary of Changes to DRP – Effective November 1, 2015

  The list below is a summary of the substantive changes to Power & Water’s and Energy
  Management’s Dispute Resolution Procedure (“DRP”). Please review the entire Procedure to
  understand all changes, including those summarized below.

                Eliminated the Company’s ability to modify DRP in the future;
                Modified the list of excluded and covered claims in response to Executive Order
                 13673 and other judicial and legislative developments;
                Improved the selection process for mediators and arbitrators to make it more likely
                 that the employee and the company will make the selection rather than the Dispute
                 Resolution Organization (“DRO”) that administers these processes;
                Expanded DRO organizations beyond the American Arbitration Association (AAA);
                Clarified that employees can discuss the substance of their covered claims with
                 colleagues;
                Clarified that both the company and the employees can file dispositive motions
                 during the arbitration process;
                Modified time frames for certain steps of the process;
                Enhanced mutuality of DRP by including claims brought by the Company, which are
                 typically commenced at Level III, but which can be moved back to Level II per
                 employee request;
                Clarified that the governing law is New York;
                Made various stylistic and non-substantive changes throughout DRP for purposes of
                 clarification and streamlining.




                                                                                           Exhibit G
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